Case 2:04-CV-02199-SHI\/|-tmp Document 25 Filed 06/10/05 Page 1 of 3 Page|D 43

 

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IN THE UN:TED sTATEs D:sTRIcT COURT " D.f.».
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUFJ
WESTERN DIvIsIoN * 10 PH 1695
-"?""J§§ 1
QFDH <,p1 qFIOiG
UNITED sTATEs oF AMERICA, wm cf mg §`1,_. §'I§
Plaintiff,
vs. No. 04-2199-1\/1&1

ONE 2000 YAMAHA BIG BEAR é-WHEELER,
VIN 0133576 WITH ALL APPURTENANCES
AND ATTACHMENTS THEREON, ET AL.,

Defendants.

 

ORDER STAYING PROCEEDINGS

 

Before the court is the June 8, 2005, unopposed motion of
plaintiff for a stay of this proceeding pending resolution of a
related criminal case. Counsel for defendants does not oppose
the motion. For good cause shown, the motion is granted. This
case is stayed pending the resolution of related criminal case
no. 2:05cr20177-Ma, USA v. Charles PriceJ Elishah Moodv, et al,
pending in the Western District of Tennessee.

b
It is so ORDERED this l day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

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